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                     IN THE UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

                                    )                Case No. 21-40540-399
In re:                              )                (Jointly Administered)
                                    )
MISSOURI JACK, LLC, et al.,         )                Chapter 11
                                    )                Hon. Barry S. Schermer
Debtors and Debtors in Possession,  )
                                    )                Objection Deadline: March 12, 2021
                                    )
                                    )                Hearing Date: March 17, 2021
                                    )                Hearing Time: 11:00 am (CT)
____________________________________)                Hearing Location: Courtroom 5 North

   OBJECTION OF CONSTELLATION NEWENERGY – GAS DIVISION, LLC
        TO THE EMERGENCY FIRST-DAY MOTION BY DEBTORS
 MISSOURI JACK, LLC AND ILLINOIS JACK, LLC FOR ENTRY OF INTERIM
    AND FINAL ORDERS (I) PROHIBITING UTILITY PROVIDERS FROM
   ALTERING, REFUSING, OR DISCONTINUING UTILITY SERVICES, (II)
DETERMINING ADEQUATE ASSURANCE OF PAYMENT FOR FUTURE UTILITY
           SERVICES, AND (III) GRANTING RELATED RELIEF

       Constellation NewEnergy – Gas Division, LLC (“CNEG”), by counsel, hereby objects

to the Emergency First-Day Motion By Debtors Missouri Jack, LLC and Illinois Jack, LLC

For Entry of Interim and Final Orders (I) Prohibiting Utility Providers From Altering,

Refusing, or Discontinuing Utility Services, (II) Determining Adequate Assurance of Payment

For Future Utility Services, and (III) Granting Related Relief (the “Utility Motion”) (Docket

No. 11), and sets forth the following:

                                         Introduction

       In complete contravention of the express provisions of Section 366(c) of the Bankruptcy

Code, the Debtors filed the Utility Motion at the outset of this case that sought, without evidence

or supporting documentation, to establish that the Debtors should not have to provide any adequate

assurance of payment whatsoever to their utility providers because the Debtors supposedly timely

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paid prepetition utility charges. Section 366(c)(3)(B)(ii) expressly provides that in making an

adequate assurance of payment determination, a court may not consider a debtor’s timely payment

of prepetition utility charges. Additionally, the Debtors want the Court to approve so-called

“procedures,” not authorized by the express provisions of Section 366, that would improperly

extend the 30-day period in Section 366(c)(2) for a Chapter 11 debtor to provide a defined form of

adequate assurance of payment to its utilities. Simply put, the Debtors’ offer to provide no

adequate assurance of payment to their utilities and the Debtors’ proposed “procedures” are

contrary to the express provisions of Section 366(c) and should be rejected by this Court.

        CNEG is seeking a two-month cash deposit in the amount of $9,922 from the Debtors,

which is an amount that CNEG can obtain pursuant to the Gas Agreement (as defined below).

Based on all the foregoing, this Court should deny the Utility Motion as to CNEG because the

amount of the CNEG post-petition deposit request is reasonable under the circumstances and

should not be modified.

                                             Facts

                                      Procedural Facts

        1.     On February 16, 2021 (the “Petition Date”), the Debtors commenced their

cases under Chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) that are

now pending with this Court. The Debtors continue to operate their businesses and manage

their properties as debtors in possession pursuant to Bankruptcy Code sections 1107(a) and

1108.

        2.     The Debtors’ chapter 11 bankruptcy cases are being jointly administered.

                                     The Utility Motion

        3.     On February 19, 2021, the Court entered the Interim Order Granting

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Emergency First-Day Motion By Debtors Missouri Jack, LLC and Illinois Jack, LLC For

Entry of Interim and Final Orders (I) Prohibiting Utility Providers From Altering, Refusing,

or Discontinuing Utility Services, (II) Determining Adequate Assurance of Payment For

Future Utility Services, and (III) Granting Related Relief (the “Interim Utility Order”)(Docket

No. 53).

        4.         In the Utility Motion, the Debtors seek to avoid the applicable legal standards

under Sections 366(c)(2) and (3) by proposing that the Debtors’ alleged prepetition practices

of generally timely paying for most utility services, in conjunction with their alleged ability to

pay for future utility services, constitutes sufficient adequate assurance of payment. Utility

Motion at ¶ 17.

        5.         The Debtors’ supposed “adequate assurance of payment” of providing their

utilities with nothing and the proposed Adequate Assurance Procedures set forth in the Utility

Motion are unacceptable to CNEG and should not be considered relevant by this Court

because Sections 366(c)(2) and (3) do not allow the Debtors to provide no adequate assurance

of payment to their utilities.

        6.         The Debtors’ claim that they were generally current paying their prepetition

utility bills should not be considered by the Court, and should certainly not provide the basis

for the Debtors’ proposed form of adequate assurance of payment which is to provide nothing

to their utilities, because (i) Section 366(c)(1)(B)(ii) expressly provides that when making an

adequate assurance of payment determination, a court may not consider a debtor’s timely

payment of prepetition utility charges and (ii) and the express forms of adequate assurance of

payment set forth in Section 366(c)(1)(A) does not include the timely payment of prepetition

utility charges.

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       7.      Furthermore, the Utility Motion does not address why this Court should

consider modifying, if at all, the amount of CNEG’s adequate assurance request pursuant to

Section 366(c)(2).

                                    Facts Regarding CNEG

       8.      CNEG provides natural gas and related services to the Debtors pursuant to a

Master Retail Sale Agreement and related Transaction Confirmations (collectively, the “Gas

Agreement”) that set forth the terms and conditions concerning CNEG’s provision of natural

gas and related services to the Debtors. CNEG has continued to provide the Debtors with

natural gas and related services pursuant to the Gas Agreement since the Petition Date.

       9.      Pursuant to the Gas Agreement, the Debtors receive approximately one month

of natural gas and related services before CNEG issues a bill. Once a bill is issued, the

Debtors have 10 days to pay the applicable bill. If the Debtors fail to timely pay a bill, a late

fee may be subsequently imposed on the account. Accordingly, the Debtors could receive

approximately two months of natural gas and related services before CNEG could terminate

the Gas Agreement after a post-petition payment default.

       10.     CNEG is requesting a two-month cash deposit of $9,922 as adequate assurance

of payment from the Debtors, which is an amount it can obtain from the Debtors pursuant to

the terms and conditions of the Gas Agreement.




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                                            Discussion

       A.       THE UTILITY MOTION SHOULD BE DENIED AS TO CNEG.

       Sections 366(c)(2) and (3) of the Bankruptcy Code provide:

            (2) Subject to paragraphs (3) and (4), with respect to a case filed under chapter 11,
             a utility referred to in subsection (a) may alter, refuse, or discontinue utility
             service, if during the 30-day period beginning on the date of the filing of the
             petition, the utility does not receive from the debtor or the trustee adequate
             assurance of payment for utility service that is satisfactory to the utility;

            (3)(A) On request of a party in interest and after notice and a hearing, the court may
             order modification of the amount of an assurance of payment under paragraph (2).

       As set forth by the United States Supreme Court, “[i]t is well-established that ‘when

the statute's language is plain, the sole function of the courts--at least where the disposition

required by the text is not absurd--is to enforce it according to its terms.’” Lamie v. United

States Trustee, 540 U.S. 526, 534, 124 S. Ct. 1023, 157 L. Ed. 2d 1024 (2004) (quoting

Hartford Underwriters Ins. Co. v. Union Planters Bank, N. A., 530 U.S. 1, 6, 120 S. Ct., 1942,

147 L. Ed. 2d 1 (2000)). Rogers v. Laurain (In re Laurain), 113 F.3d 595, 597 (6th Cir. 1997)

(“Statutes . . . must be read in a ‘straightforward’ and ‘commonsense’ manner.”). A plain

reading of Section 366(c)(2) makes clear that a debtor is required to provide adequate

assurance of payment satisfactory to its utilities on or within thirty (30) days of the filing of

the petition. In re Lucre, 333 B.R. 151, 154 (Bankr. W.D. Mich. 2005).

       In this case, the Debtors filed the Utility Motion to improperly shift the focus of their

obligations under Section 366(c)(3) from modifying the amount of the adequate assurance of

payment requested under Section 366(c)(2) to setting the form and amount of the adequate

assurance of payment acceptable to the Debtors, which is providing no adequate assurance

whatsoever to CNEG. Accordingly, this Court should not reward the Debtors for their failure to


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comply with the requirements of Section 366(c) and deny the Utility Motion as to CNEG.

       The Debtors do not provide the Court with any evidence or factually supported

documentation to explain why the amount of CNEG’s adequate assurance request should be $0.00.

Accordingly, the Court should deny the relief requested by Debtors in the Utility Motion and

require the Debtors to comply with the requirements of Section 366(c) with respect to CNEG.

          B.   THE COURT SHOULD ORDER THE DEBTORS TO PROVIDE THE
               ADEQUATE ASSURANCE OF PAYMENT REQUESTED BY CNEG
               PURSUANT TO SECTION 366 OF THE BANKRUPTCY CODE.

       CNEG bills the Debtors on a monthly basis for the charges already incurred by the

Debtors in the prior month. CNEG then provides the Debtors with 10 days to pay a bill before

a late fee may be charged, and also provides written notice before utility goods/services can be

terminated for non-payment pursuant to the Gas Agreement. Based on the foregoing contract-

mandated billing cycle, the minimum period of time the Debtors could receive service from

CNEG before termination of service for non-payment of post-petition bills is approximately

two (2) months. Moreover, even if the Debtors timely pay their post-petition utility bills,

CNEG still has potential exposure of approximately 60 days based on its billing cycle.

Furthermore, the amount of the CNEG deposit request is the amount that the Gas Agreement

permits CNEG to request from the Debtors. CNEG is not taking the position that the deposit

that it is entitled to obtain pursuant to the Gas Agreement is binding on this Court, but instead

is introducing that amount as evidence of amount that the Gas Agreement permits CNEG to

request from the Debtors.

       WHEREFORE, the CNEG respectfully requests that this Court enter an order:

     1.        Denying the Utility Motion as to CNEG;



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     2.        Awarding CNEG the post-petition adequate assurance of payment pursuant to

               Section 366 in the amount and form satisfactory to CNEG, which is the form

               and amount requested herein; and

     3.        Providing such other and further relief as the Court deems just and appropriate.

Dated: March _5_, 2021

                                             /s/ Norah J. Ryan _________________
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                                             Division, LLC


                                 CERTIFICATE OF SERVICE

The undersigned certifies that on March _5_, 2021, a true and correct copy of the above and
foregoing Objection was served via electronic filing through the CM/ECF system of the U.S.
Bankruptcy Court, Eastern District of Missouri upon all parties to this matter requesting service by
electronic filing.

                                                    /s/ Norah J. Ryan_____________
                                                    Norah J. Ryan


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